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                        CORPORATION (f/k/a GIARAN, INC.)
                    9
                 10                                UNITED STATES DISTRICT COURT
                 11                              CENTRAL DISTRICT OF CALIFORNIA
                 12
                 13     VASO GOUNTOUMAS, an individual,           Case No. 2:18-CV-07720-JFW(PJWx)
                 14                             Plaintiff,        DEFENDANTS’ NOTICE OF
                                                                  MOTION AND MOTION TO
                 15                       vs.                     COMPEL ARBITRATION AND
                                                                  TO DISMISS, OR IN THE
                 16     GIARAN, INC., a Delaware                  ALTERNATIVE STAY ACTION
                        corporation; RAYMOND FU, an
                 17     individual, and DOES 1-10, inclusive,     [Memorandum of Points and
                                                                  Authorities In Support Thereof;
                 18                             Defendants.       Declarations of Charles J. Malaret
                                                                  and Yun “Raymond” Fu In Support
                 19                                               Thereof; and [Proposed] Order filed
                                                                  concurrently herewith]
                 20
                                                                  Honorable John F. Walter
                 21                                               Place:   Courtroom 7A
                                                                           United States Courthouse
                 22                                                        350 W. 1st Street
                                                                           Los Angeles, CA 90012
                 23
                                                                   Date:    November 19, 2018
                 24                                                Time:    1:30 p.m.
                 25
                 26
                 27
                 28
MORGAN, LEWIS &
 BOCKIUS LLP                                                               DEFENDANTS’ NOTICE OF MOTION
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                       AND MOTION TO COMPEL ARBITRATION
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                    1            TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
                    2            PLEASE TAKE NOTICE that on November 19, 2018, at 1:30 p.m. or as
                    3   soon thereafter as may be heard in Courtroom 7A of this Court, located at 350 West
                    4   1st Street, Los Angeles, CA 90012, Defendants Yun “Raymond” Fu (“Raymond
                    5   Fu”) and Giaran, Inc. (“Giaran,” n/k/a Shiseido Americas Corporation) (collectively
                    6   referred to herein as “Defendants”), will and hereby move this Court for an Order
                    7   compelling Plaintiff Vaso Gountoumas (“Plaintiff”) to arbitrate the claims alleged
                    8   in this action and to dismiss, or in the alternative stay Plaintiff’s action.
                    9            Defendants move to compel and dismiss Plaintiff’s claims for the following
                 10     reasons:
                 11              First, Plaintiff’s claims are subject to binding arbitration pursuant to the
                 12     consulting agreement that Plaintiff signed. Plaintiff’s consulting agreement
                 13     contains an arbitration provision requiring Plaintiff to arbitrate any controversy or
                 14     claim arising out of or relating to her work for Giaran. Under federal,
                 15     Massachusetts, and California law, Plaintiff entered into a valid and binding
                 16     arbitration agreement covering the scope of Plaintiff’s claims. Therefore, her
                 17     claims should be compelled to arbitration. Moreover, any question of arbitrability
                 18     should be for the arbitrator to decide.
                 19              Second, because Plaintiff’s claims should be compelled to arbitration and are
                 20     within the scope of the arbitration provision contained in Plaintiff’s consulting
                 21     agreement, dismissal of this action is appropriate under federal law. In the
                 22     alternative, in order to save conserve the time and resources of the Court and
                 23     parties, Plaintiff’s action should be stayed.
                 24              This motion is made following the conference of counsel pursuant to
                 25     L.R. 7-3 that took place on September 6, and October 10-12, 2018. This Motion is
                 26     based on this Notice of Motion and Motion, the accompanying Memorandum of
                 27     Points and Authorities, the Declarations of Charles J. Malaret and Yun “Raymond”
                 28
MORGAN, LEWIS &
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 BOCKIUS LLP                                                                      DEFENDANTS’ NOTICE OF MOTION
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                              AND MOTION TO COMPEL ARBITRATION
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                    1   Fu in support thereof, and all exhibits attached thereto, evidence to which the Court
                    2   may take judicial notice, the complete record in this action, and any other evidence
                    3   as may be presented by Defendants at or before the hearing on this Motion.
                    4
                    5   Dated: October 15, 2018              MORGAN, LEWIS & BOCKIUS LLP
                    6
                    7                                        By: /s/ Charles J. Malaret
                                                                Charles J. Malaret
                    8                                           Kathryn T. McGuigan
                                                                Emily L. Calmeyer
                    9
                                                                 Attorneys for Defendants, Shiseido
                 10                                              Americas Corporation and Raymond Fu
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MORGAN, LEWIS &
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 BOCKIUS LLP                                                                  DEFENDANTS’ NOTICE OF MOTION
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                          AND MOTION TO COMPEL ARBITRATION
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